
YATES, Presiding Judge,
dissenting.
I respectfully dissent from the main opinion affirming the trial court’s judgment terminating the father’s parental rights and approving the adoption of his minor child. The evidence does not support a finding that the father gave implied consent to the adoption or that his actions amounted to an abandonment of the child. To the contrary, the evidence supports a finding that the father has vigilantly pursued his legal rights to establish a relationship with the child and has sought legal and physical custody of the child. Further, on the basis of our supreme court’s recent ruling in Ex parte C.V., 810 So.2d 700 (Ala.2001) (reversing the trial court’s judgment terminating a father’s parental rights and approving an adoption based on implied consent), the evidence in this case, likewise, “does not tend to prove any of Alabama’s applicable statutory criteria for terminating the father’s parental rights.” 810 So.2d at 702.
I am reciting the procedural history and the facts to present my rationale for disagreeing with the main opinion. On July 1, 1999, the father petitioned the juvenile court for a determination of “father and child relationship,” alleging that on or about June 29, 1999, “the mother” had given birth to a child he believed might be his biological child;2 that he had registered with the putative-father registry, § 26-10C-1, Ala.Code 1975; that he believed an adoption proceeding was pending in the Crenshaw County Probate Court; that he was requesting a blood test to determine paternity; and that he was requesting a stay of any pending adoption proceedings involving the minor child.
On July 12, 1999, the adoptive parents petitioned the probate court for adoption, alleging that the child, born on July 6, 1999, was in the mother’s custody and that “no other persons or agencies have any interest” in the child; that “all persons known to the [adoptive parents] at the time of filing this petition from whom consents or relinquishments to this adoption are required by law ... are as follows: [the mother]”; and that they were fit and proper persons to adopt the child. On July 18, 1999, the probate court entered an interlocutory judgment, awarding the adoptive parents custody of the child, ordering a postplacement investigation, and *119setting the case for a dispositional hearing in December 1999.
In December 1999, F.P. moved for a judicial determination adjudicating him as the father, to allow him to pursue further legal action regarding the child. F.P. argued that a paternity test had indicated his probability of paternity at 99.99%. According to the case action summary, the court, on January 5, 2000, determined that, based on the result of the blood test, F.P. was the father of the child; however, on January 19, 2000, the court withdrew its order, stating, “[T]he order of January 5, 2000, is hereby set aside and a hearing is set for February 11, 2000, to determine paternity.”
On April 10, 2000, the father moved the probate court to dismiss the adoption proceedings, to set aside the probate court’s interlocutory order, and to order the adoptive parents to “immediately turn over custody of the minor child” to him. He argued that his paternity had been established pursuant to § 26-17-12, Ala.Code 1975; that he did not consent to'the adoption pursuant to § 26-10A-7, Ala.Code 1975; that he had not been declared unfit and his parental rights had not been terminated; and that he was willing and able to care for the minor child. After the adoptive parents moved to transfer the adoption proceeding, the probate court, on April 20, 2000, entered an order transferring the adoption case to the juvenile court.
On April 10, 2000, the father amended his petition for custody, seeking joint custody of the child with his mother. On April 14, 2000, the adoptive parents petitioned to terminate the father’s parental rights, alleging that the mother had consented to the adoption, that the father was not a fit and proper person to have parental rights, and that it would be in the child’s best interests to terminate the father’s parental rights.
After conducting an ore tenus proceeding, the court, on September 8, 2000, entered an order finding that the father had “impliedly consented” to adoption or had “relinquished” his claim to custody, § 26-10A-2(4) and (13); terminating his parental rights, in reliance on § 26-10A-7, Ala. Code 1975; and granting the adoption of the minor child by the adoptive parents.
The pertinent facts of this case are as follows: The minor child is biracial. The mother and father were both 17 years old and were attending high school in a small town at the time of the child’s birth. The mother testified that after she became pregnant she was told to leave her mother’s residence. She said that she thought the reason she was told to leave was because she had become pregnant by a person of another race. The mother and father testified that they had dated during high school; however, according to the father, they did not date openly because the mother’s family did not approve. The mother testified that after she became pregnant she and the father “stopped having contact,” but that she maintained contact with his mother. Both the mother and the paternal grandmother stated that the paternal grandmother drove her to several doctor’s visits for prenatal care, and the mother admitted that she had written a letter stating that she wanted the paternal grandmother to have custody of the child. She stated that she had been confused throughout the decision-making process and that she did not know what was the best decision for the child. When questioned by the court as to what she thought was in the best interest of her child, she stated that she thought the child would be “best off’ with the adoptive parents because they were a two-parent *120household and could provide for the child financially.
The father was attending college and working part-time at the time of the trial. He stated that he returned to his home on the weekends. He said that he had never seen his son. The paternal grandmother said that she (the grandmother), F.P., and the grandmother’s daughter had attempted to visit the child when it was born and were told that they could not see the child without the mother’s permission and were refused the visit. The father stated that he did not have any information on the adoptive parents other than a telephone number and that he had tried to reach them by telephone one week before the date of the trial. He said that he had never consented to the child’s adoption and that the mother had stated that she had been pressured into consenting to an adoption because the child was biracial. He stated that he wanted the child to be with his natural family regardless of the child’s race and that through his family’s support he would be able to provide for the child while he attended college. He stated that he had also fathered a child with his current 16-year-old girlfriend and that he was providing emotional and financial support to that mother and child. He said that he had never been convicted of any crimes; however, he admitted that he had been suspended from high school for “passing a marijuana cigarette” in the school bathroom.
The father’s witnesses included three siblings, who stated that they would assist him financially to support the child while he completed his college education; the paternal grandmother, who stated that she would care for the child in her home and wanted joint custody of the child; and two paternal aunts, who were retired, and who stated that they would provide child care. The judge stated in open court that each of the witnesses was capable of providing for the child.
The adoptive parents both testified as to the loving relationship they had developed with the child and their financial ability to provide for the child. The adoptive father stated that he felt any communication from the father requesting to see the child would be considered “harassing calls” and that he had not extended the same option to the father as to the mother to see the child, because the father was trying to prevent the adoption.
Teresa Sanders, a Department of Human Resources (“DHR”) caseworker, testified that the mother had told her about the father; however, she prepared the adoption documents without stating the father’s name, because, according to her, the mother said she “didn’t know his whereabouts.”
Sandra Walker testified that she had known the mother “all of her life” and had known the father “all of his school career.” She stated that in addition to being an athletic trainer at the local high school, she also counseled teenage and unwed parents. She stated that she had advised the mother about placing the child for adoption and had facilitated the adoption. She stated that she did not consider the father or his family for an adoptive placement because she thought the father had rejected the mother and that he had denied being the father. She admitted that she did not discuss the pregnancy with the father and did not hear the father deny the child or say that he did not want the child.
The assistant principal at the high school the mother and father had attended stated that he either observed or was told that the mother was pregnant, because it was common knowledge that they had been dating, and that he had discussed the mother’s possible pregnancy with the father. He stated that the father said during their one conversation that “she wasn’t *121pregnant” and that they did not discuss the issue again.
The main opinion concludes that the father’s conduct, both during the mother’s pregnancy and after the child’s birth, amounted to abandonment. The Alabama Adoption Code, § 26-10A-1 et seq., Ala. Code 1975, contains the following relevant provisions:
“Section 26-10A-8. Consent or relinquishment by a minor parent.
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“(c) A minor father may give his implied consent by his actions. If a court finds by conclusive evidence that a minor father has given implied consent to the adoption, notice and the appointment of a guardian ad litem shall not be necessary.”
“Section 26-10A-9. Implied consent or relinquishment.
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“(1) Abandonment of the adoptee. Abandonment includes, but is not limited to,' the failure of the father, with reasonable knowledge of the pregnancy, to offer financial and/or emotional support for a period of six months prior to the birth.
“(2) Leaving the adoptee without the provision for his or her identification for a period of 30 days.
“(3) Knowingly leaving the adoptee with others without provision for support and without communication, or not otherwise maintaining a significant parental relationship with the adoptee for a period of six months.
“(4) Receiving notification of the pen-dency of the adoption proceedings under Section 26-10A-17 and failing to answer or otherwise respond to the petition within 30 days.”
The “prebirth-abandonment” provision contained in § 26-10A-9, Ala.Code 1975, and cited in the main opinion did not exist when the mother became pregnant; it became effective only on June 11, 1999, 25 days before the child’s birth. I therefore question the applicability of the statute in this case. I agree that there may be instances in which a parent’s actions prior to the birth of the child may be considered as evidence of his or her consent to an adoption; however, in this case, the father’s conduct beginning immediately after the child’s birth overwhelmingly negates any finding of an intent to abandon the child or to give implied consent to the adoption. I further agree with the special writings of several of the Justices in Ex parte C.V., supra, that any implied consent may be withdrawn by the subsequent actions of a parent. Chief Justice Moore states, in part:
“A parent’s conduct before the birth of the child can evince implied consent to an adoption. This was the case even before the 1999 amendment to § 26-10A-9 became effective on June 11, 1999. However, even if this Court were to assume that [the father] had impliedly consented to the adoption ..., § 26-10A-13, Ala.Code 1975, provides that an express consent can be withdrawn: [stating certain means for withdrawing it]. Express consent certainly communicates a clearer assent by a parent to an adoption than does implied consent. Logically, if a parent can withdraw express consent to an adoption, a parent can withdraw implied consent to an adoption.”
C.V. at 703. Justice See’s special concurrence states, in part:
“It is clear that a parent can expressly consent to the adoption of his or her child before the child’s birth, see Ala. Code 1975, §§ 26-10A-ll(2), 26-10A-*12218(a) and (b). I see no reason a parent cannot also impliedly consent to a child’s adoption before that child’s birth. However, the Legislature has provided that, after the child’s birth, a parent can withdraw his express prebirth consent to the child’s adoption. See § 26-10A-13. If we are to recognize prebirth implied consent to adoption, then, I believe, consistent with the statutory structure for express consent and its withdrawal, we must also recognize implied withdrawal of prebirth consent.”
C.V. at 705. As to the issue of abandonment, Justice Johnstone’s special concurrence states, in part:
“Abandonment, as defined by the Child Protection Act, is
“ ‘a voluntary and intentional relinquishment of the custody of a child by a parent, or a withholding from the child, without good cause or excuse, by the parent, of his presence, care, love, protection, maintenance or the opportunity for the display of filial affection, or the failure to claim the rights of a parent, or failure to perform the duties of a parent.’
“ § 26-18-3(l)(emphasis added). This definition does not contemplate abandonment of an unborn child by a father, because a father cannot have custody of the unborn child. Simply put, § 26-18-7(a)(1) does not authorize a trial court to terminate parental rights for ‘prebirth abandonment’ by a father. While the father’s prebirth conduct towards the birth mother and his alleged lack of financial support of the birth mother could be relevant to his fitness as a parent, the father’s prebirth conduct toward the birth mother was not relevant to whether the father abandoned [the child].... A fortiori, I agree with several of my colleagues on this Court insofar as they observe in their special writings that the evidence in this case cannot support the conclusion that any abandonment by the father ‘continue[d] for a period of six months next preceding the [prospective adoptive parents’] filing of the petition’ (§ 26-18-7(c) quoted above) so as to terminate the father’s parental rights, as the Child Protection Act would require for the termination of the father’s parental rights.”
C.V. at 723-24.
In S.W.B. v. R.C., 668 So.2d 835 (Ala.Civ.App.1995), this court approved an adoption of an infant, who was given to the adoptive parents by the biological mother and was subsequently reared by the couple for 12 years. We concluded in that case that the mother had failed to provide financial support, had not communicated with the child, and had failed to maintain a nominal parental relationship for the preceding seven years; therefore, the evidence supported “a finding of implied relinquishment” under § 26-10A-9, Ala.Code 1975, and we further held that the trial court’s judgment terminating parental rights based on abandonment was due to be affirmed. Id. at 836-37. Our opinion stated, in part,
“Under the Alabama Adoption Code, § 26-10A-1 et seq., Ala.Code 1975, consent or relinquishment of the adoptee is implied when the parents ‘knowingly [leave] the adoptee with others without provision for support and without communication,’ or when they ‘otherwise [do not maintain] a significant parental relationship with the adoptee for a period of six months.’ § 26-10A-9(2), Ala.Code 1975. In short, the statute provides that relinquishment is implied when parents have knowingly abandoned their child. ‘Abandonment’ is defined in the Code as
“ ‘a voluntary and intentional relinquishment of the custody of a child by a parent, or a withholding from the *123child, without good cause or excuse, by the parent, of his presence, care, love, protection, maintenance or the opportunity for the display of filial affection, or the failure to claim the rights of a parent, or failure to perform the duties of a parent.’
“ § 26-18-3(1), Ala.Code 1975. A trial court can terminate parental rights if it finds by clear and convincing evidence that the parents have, among other things, abandoned their children. M.H.S. v. State Dep’t of Human Res., 636 So.2d 419, 421 (Ala.Civ.App.1994); § 26-18-7, Ala.Code 1975.
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“We could find no cases dealing with § 26-10A-9, Ala.Code 1975. However, the evidence in this case supports a finding of implied relinquishment of the child for adoption.... Therefore, we hold that, by implication, [the biological parents] relinquished [the child] for adoption; see § 26-10A-9, Ala.Code 1975. The trial court’s judgment terminating the biological parents’ parental rights and granting the adoption is due to be upheld. See, e.g., M.J.G.L. v. State Dep’t of Human Res., 587 So.2d 1004 (Ala.Civ.App.1991).
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“... The Alabama Adoption Code, § 26-10A-1 et seq., [Ala.Code 1975], was adopted in 1990, replacing earlier law on the adoption of children, § 26-10-1 et seq., [Ala.Code 1975]. Because the Adoption Code is relatively new, there is little ease law addressing its provisions. The Committee Comments to § 26-10A-9, dealing with implied consent of a parent for the adoption of his or her child, states:
“ ‘Just as acceptance of the terms of a commercial contract can be implied from the conduct of a party, so may the consent of a person to the adoption be implied from the conduct of that individual. When it is not possible to obtain the actual consent of a person who is specified in § 26-10A-7, this section enumerates instances in which a person’s consent may be implied from his or her acts or omissions with respect to his or her duty to care for the adoptee in the past.’ ”
668 So.2d at 836-38.
The main opinion discusses the father’s failure to support the child and his failure to maintain contact or seek visitation with the child as a basis for terminating his parental rights. In this case, the trial court determined on January 5, 2000, that F.P. was the father; however, the trial court withdrew its order on January 19, 2000, and reset the case for a hearing to determine paternity. As in Ex parte C.V., it appears that the court established paternity for the father when it simultaneously terminated his parental rights. During testimony, the court commented on the father’s ability to contribute to the child, stating, “I can understand when the man doesn’t know where the child is that he can’t send a gift or child support.” The only contact the father had with the adoptive parents was by a telephone call. I also question the father’s obligation to support the child once the prospective adoptive parents received the child into their home, filed a petition for adoption, and petitioned to terminate the father’s parental rights. Justice Johnstone’s special writing stated, in part:
“To penalize the father for failing to contribute to the prospective adoptive parents after they revealed themselves and [the child] but while they did their utmost to deny and to terminate the father’s parental rights would be equally unfair.
“Additionally, once prospective adoptive parents have received an adoptee *124into their home and have filed a petition for adoption, a court ‘shall [enter an interlocutory order] delegating to the [prospective adoptive parents] (1) custody, except custody shall be retained by ... the licensed child placing agency which held custody at the time of the placement until the entry of the final decree and (2) the responsibility of the care, maintenance, and support of the adoptee, including any necessary medical or surgical treatment, pending further order of the court.’ § 26-10A-18. Therefore, once the prospective adoptive parents petitioned to adopt [the child] they assumed responsibility for his care and support, and, thus, relieved the father of any duty of support.”
810 So.2d at 722.
In T.S. v. J.P., 674 So.2d 535 (Ala.Civ.App.1995), we held that in order to terminate parental rights in a pending adoption case, the court must determine whether grounds for termination exist, including, but not limited to, those specifically listed in the Child Protection Act, § 26-18-1 et seq., Ala.Code 1975, and must also determine whether all viable alternatives to termination of parental rights have been considered. We stated, in part:
“It follows, therefore, that Ala.Code 1975, § 26-10A-1 et seq., the Alabama Adoption Code (AAC) must be read in pari materia with Ala. Code 1975, § 26-18-1 et seq., the 1984 Child Protection Act (CPA).
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“In the CPA, our legislature clearly provided guidelines and standards for terminating parental rights based upon clear and convincing evidence. [§ 26-18-7, Ala.Code 1975.] Mindful of the serious nature of cases involving the termination of parental rights and the need to comply with the requirements of due process, our Supreme Court established a two-pronged test be to applied. Ex parte Beasley, 564 So.2d 950 (Ala.1990). The court must determine whether grounds for termination exist, including, but not limited to, those specifically listed in § 26-18-7, and must also determine whether all viable alternatives to the termination of parental rights have been considered.... Furthermore, where the State or a nonparent seeks to terminate parental rights, the court must find that the child is dependent. Additionally, we note that the United States Supreme Court has held that, in a termination of parental rights proceeding, a ‘clear and convincing evidence’ standard of proof satisfies the requirements of due process, while a lesser standard does not.
“A construction of the AAC that usurps and overrides the CPA, and that calls for the application of a lesser or different standard, is an unworkable, unjust, and unreasonable interpretation. More importantly, the imposition of a lesser standard would clearly be unconstitutional.”
Id. at 537 (citations omitted).
The father stated that he worked part-time and would contribute to the financial support of the child while he attended college. There was no testimony to indicate that he was unfit or unwilling to care for the child or that his circumstances would not change in the foreseeable future. He further stated that the mother had been pressured into the adoption because the child was biracial; that he wanted to rear the child within his family and the community, regardless of its mixed race, and that the child would live with his mother, so that he could continue his college education. I conclude that the father’s conduct, including registering with the putative-father registry, promptly filing a petition for custody, and petitioning *125the court to stop the adoption proceedings, indicates a willingness and desire to rear the child.
Last, the evidence does not support a finding that there are no viable alternatives to terminating his parental rights. There was ample testimony indicating that the paternal grandmother was a suitable relative resource to be considered as an alternative placement for the child. The trial court stated that the paternal grandmother was capable of caring for the child, and it made the same assessment of several other paternal relatives who testified.
Based on the foregoing and in light of the supreme court’s recent holding in Ex parte C.V., I would reverse the trial court’s judgment and award immediate custody of the child to the father and paternal grandmother. See also, G.D.M. v. State, 655 So.2d 1020 (Ala.Civ.App.1995).
CRAWLEY, J., concurs.

. The record indicates that the child was bom on July 6, 1999, which means that the father petitioned the juvenile court even before the child was bom.

